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Attorneys for the Plaintiff
UNITED STATES OF AMERICA


               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,      )      CR. NO. 22-00013 SOM
                               )
                Plaintiff,     )      SENTENCING STATEMENT OF NO
                               )      OBJECTIONS TO DRAFT
     vs.                       )      PRESENTENCE REPORT;
                               )      CERTIFICATE OF SERVICE
TY J.K. CULLEN,                )
                               )      Date: July 5, 2022
                Defendant.     )      Time: 2:15 p.m.
_______________________________)      Judge: Susan Oki Mollway


            SENTENCING STATEMENT OF NO OBJECTIONS
                 TO DRAFT PRESENTENCE REPORT
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      The United States has reviewed the draft presentence report and has no

objections to the factual statements or guideline computations contained in the

report.

      DATED: June 2, 2022, at Honolulu, Hawaii.

                                             CLARE E. CONNORS
                                             United States Attorney
                                             District of Hawaii

                                                  /s/ Kenneth M. Sorenson
                                             By_________________________
                                               KENNETH M. SORENSON
                                               Assistant U.S. Attorney




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                            CERTIFICATE OF SERVICE

      I hereby certify that, on the dates and by the methods of service noted below,

a true and correct copy of the foregoing was served on the following at their last

known addresses:

Served Electronically through EM/ECF:

      Birney Bervar, Esq.

      Attorney for Defendant
      TY J.K. CULLEN

Served via Email:

      Darsie Ing-Dodson                Darsie_Ing-Dodson@hip.uscourts.gov
      U.S. Probation Officer

      DATED: June 2, 2022, at Honolulu, Hawaii.


                                                   /s/ Dawn Aihara
                                              ________________________
